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AO 91 (Rev. 08/09) Criminal Complaint de_==

UNITED STATES DISTRICT CoURT usc 13 m

 

for the
Southern District of Texas lmdm
United States of America )
l urbisio MuNGul/`\’,YOB; 1973, MEXico § Case NO \\/\ /\/] »- 3 Q.LLO 'W\
,'( l\/lax Alberto QUlROZ-Diaz,YOB: 1989, MEX|CO `
3 Beatriz ADR|ANo-sanmartin, YoB: 1978, usc §
)

 

Dejendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of December 12, 2017 in the county of Hidalgo in the
Southem District of Texa$ , the defendant(S) violated:
Code Section Ojj"ense Description

21 United States Code § 841/846 Defendants did knowingly and intentionally posses with the intent to distribute
approximately 5 kilograms or more of cocaine a scheduled ll controlled
substance '

Defendants conspire to posses With the intent to distribute approximately 5
kilograms or more of cocaine a schedule ll controlled substance

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

/ Continued on the attached sheet.

 

 

2 Comzinant’s signature
\ ~.> \__-» ©`v`/ " Raul Garza, HSl Special Aqent
_/\\ 5 A Printed name and title

Sworn to before me and signed in my presence.

Date; 12/13/2017 Q&WW yeQ/““€

 

Judge ’s signature

City and state: McAllen, Texas Dorina Ramos, U.S. Magistrate Judge
Printed name and title

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ATTACHMENT “A”

On December 12, 2017, HSI McAllen received information pertaining to a large quantity
of cocaine being co-mingled within bell peppers. While conducting surveillance at
Buffalo Wings and Rings located at 1809 W. Trenton Road in Edinburg, Texas, HSI
McAllen special agents observed a black H3 Hummer and a white Nissan Frontier
meeting in the parking lot.

Agents observed Urbicio MUNGUIA-Garcia and Beatriz ADRIANO-Sanmartin
unloading boxes containing bell peppers from the white Nissan Frontier to the H3
Hummer. Agents maintained surveillance of the H3 Hummer and followed it to the Wal-
Mart parking lot located at 2800 West Nolana Avenue in McAllen, Texas. Agents
observed MUNGUIA and ADRIANO meet with a silver Chrysler Town and Country van
displaying Texas license plates CLR-1220 driven by Max Alberto QUIROZ-Diaz.
MUNGUIA, ADRIANO and QUIROZ unloaded the boxes of bell peppers from the H3
Hummer and placed them into the Silver Chrysler van.

Agents maintained surveillance of the silver Chrysler Town and Country van and
observed it enter a garage at a residence located at 3001 West Falcon Avenue in
McAllen, Texas. After a short time, Agents approached the residence and made contact
with QUIROZ. Agents explained to QUIROZ that agents were conducting an
investigation involving possible illegal activity. QUIROZ advised agents that he resided
at the residence and granted agents consent to search for his residence and vehicles on his
property. Prior to searching the residence, QUIROZ advised that there was a large
amount of cocaine inside the residence.

Agents searched the residence and discovered 10 boxes of bell peppers each containing 5
compressed bundles of suspected cocaine. Agents also discovered another upstairs room
which contained 40 compressed bundles of suspected cocaine. The suspected cocaine was
field tested and tested positive for characteristics of cocaine. There Were a total of 90
packages of cocaine weighing approximately 100.30 kilograms.

Based on the encounter at the aforementioned residence, HSI McAllen conducted a
controlled delivery operation to the Melrose clothing store located at 1900 S 23rd in
McAllen, Texas. Agents placed produce boxes containing 15 bricks of cocaine
comingled in'boxes of bell peppers in the silver Chrysler Town and Country van. Agents
maintained surveillance of the van and identified a vehicle belonging to MUNGIA arrive
in the Melrose parking lot. Agents observed ADRIANO open the driver side of the van
and enter the vehicle. Agents approached the van and placed ADRIANO under arrest.
Agents maintained surveillance on MUNGIA and coordinated with the McAllen Police
Department to make contact with MUNGIA. MUNGIA was subsequently apprehended
and transported to the HSI McAllen office.

SA Raul Garza read QUIROZ his Miranda warnings which he advised he understood and
voluntarily waived his right to an attorney. QUIROZ advised that he was instructed by
MUNGIA to co-mingle 50 kilograms of cocaine within 10 boxes of bell peppers.

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QUIROZ advised that during the conversation with MUNGIA about co-mingling the
cocaine, ADRIANO was present and had knowledge about the drug transaction
MUNGIA advised QUIROZ that ADRIANO was going to pick up the van at Melrose
once the cocaine was co-mingled with the bell peppers. QUIROZ positively identified
MUNIGA and ADRIANO through photo line-ups.

SA Raul Garza read ADRIANO her Miranda warnings, which she advised he understood
and voluntarily waived. ADRIANO admitted to loading the boxes with bell peppers from
the white Nissan into the H3 Hummer. ADRIANO also admitted to unloading the boxes
of bell peppers from the H3 Hummer into the Chrysler Van. ADRIANO advised that
MUNGIA hired her to pick up the van once the boxes of bell peppers were returned to
him. ADRIANO was going to get paid 150.00 dollars to drive the Chrysler Van to a
warehouse where the boxes would be unloaded.

